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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DARRYL PELICHET,
BONN WASHINGTON,
JOSHUA RAGLAND,                            Case No. 2:18-cv-11385
DARIUS BICKERSTAFF,                        Honorable Anthony P. Patti
through his guardian
FRANK BICKERSTAFF, and
MICHIGAN PROTECTION
AND ADVOCACY SERVICE,
INC.,

       Plaintiffs,

v.

ELIZABETH HERTEL, et al.,


      Defendants.
______________________________/

MEMORANDUM ORDER DENYING DEFENDANT HEGIRA’S MOTION
      FOR PARTIAL RECONSIDERATION (ECF No. 203)
      Defendant Hegira Programs, Inc. (“Hegira”), the only remaining defendant

in this case, moves for partial reconsideration of this Court’s recent denial of

Hegira’s motion for summary judgment. (ECF Nos. 201-203.) Hegira

misapprehends the standard of review for such a motion under Local Rule 7.1(h),

repeatedly urging that the Court “palpably erred” in denying summary judgment on

Plaintiffs’ procedural and substantive due process claims. The standard which

actually applies is as follows:
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            (2) Non-Final Orders. Motions for reconsideration of non-final
      orders are disfavored. They must be filed within 14 days after entry of the
      order and may be brought only upon the following grounds:
            (A) The court made a mistake, correcting the mistake changes the
      outcome of the prior decision, and the mistake was based on the record and
      law before the court at the time of its prior decision;
           (B) An intervening change in controlling law warrants a different
      outcome; or
            (C) New facts warrant a different outcome and the new facts could
      not have been discovered with reasonable diligence before the prior
      decision.
E.D. Mich. LR 7.1(h)(2) (effective Dec. 1, 2021). Based upon this standard, and

because neither an intervening change in controlling law warranting a different

outcome nor new facts that could not have been previously discovered with

reasonable diligence have come to light favoring a different outcome, the Court

assumes Hegira contends the Court made a mistake, based on the record before it

at the time of its summary judgment decision, which would affect the outcome if

corrected. E.D. Mich. LR 7.1(h)(2)(A). However, Hegira fails to demonstrate

such a mistake.

      Hegira limits its request for reconsideration to errors it argues that the Court

made with respect to its rulings on procedural and substantive due process. With

respect to procedural due process, Hegira correctly notes that the Court previously

observed, “neither Hegira nor the individual plaintiffs adequately address the

central elements of notice and an opportunity to be heard.” (ECF No. 201,

PageID.6895.) The Court went on to find: “Still, Defendant Hegira has not shown
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its entitlement to summary judgment on Plaintiffs’ procedural due process claim.”

(Id.) Hegira does not show here how the Court’s earlier conclusion was mistaken.

Instead, Hegira now attempts to address what went unaddressed before. Or, to put

it another way, Hegira attempts to provide more robust briefing in an attempted

second bite at the apple. (See ECF No. 203, PageID.6933-6935.) For example,

Hegira now points out alleged inadequacies in Plaintiff’s evidence and attempts to

inject and characterize probate court records and SCAO forms into the discussion. 1

But a motion for reconsideration is not a vehicle for re-briefing or bolstering prior

inadequacies in briefing. Hegira’s burden on the initial motion for summary

judgment was to show the lack of a fact question, whereas its burden here is to

show a mistake by the Court in its original ruling. Hegira has accomplished

neither.

        In seeking reconsideration of the Court’s ruling on substantive due process,

Hegira again seeks a “do-over.” (See id., PageID.6935-6941.) However, that is

not the purpose of a motion for reconsideration. Discussing or now trying to




1
 (See ECF Nos. 203-2 [Washington’s Case Details for File No. 1999-604747-MI
(Wayne County Probate Court)], 203-3 [Washington’s 2012 Continuing Order for
Treatment (SCAO Form PCM219) in File No. 1999-604747-MI (Wayne County
Probate Court)], 203-4 [Hegira’s June 2011 “Advance Notice of Action” as to
Washington].)

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distinguish several cases it did not address in its earlier briefing,2 and also

mentioning “the proofs required to sustain a substantive due process claim[,]” a

point not previously or adequately addressed in Hegira’s earlier briefing, Hegira

here attempts to more efficaciously plow over the same ground addressed in its

underlying dispositive motion, particularly by attacking the adequacy of Plaintiff’s

evidence, although without showing a material mistake by the Court in its July 26,

2022 decision. (See ECF No. 203, PageID.6936-6939.) Indeed, Hegira now

attempts to inject new evidence not previously raised (without citation), namely

that Hegira itself at one point supported Plaintiff Pelichet in his resistance of a

hospitalization effort, without a showing that this fact was not previously

discoverable through reasonable diligence. (Id., PageID.6940, n.8.) See E.D.

Mich. LR 7.1(h)(2)(C). Hegira seems to suggest that Plaintiffs’ statistical

evidence, standing alone, is inadequate to support their substantive due process

claim. (Id., PageID.6940.) This misinterprets the basis of the Court’s prior ruling.

The Court neither ruled that Plaintiffs would ultimately prevail nor hinged its

ruling solely upon statistical evidence; rather, the Court found that Plaintiffs had

adequately created a genuine and material issue of disputed fact for trial through its



2
 See Bartell v. Lohiser, 215 F.3d 550 (6th Cir. 2000); United States v. Leal, 75
F.3d 219 (6th Cir. 1996); United States v. Godofsky, 943 F.3d 1011 (6th Cir.
2019); State Farm Mut. Auto. Ins. Co. v. Elite Health Ctrs., Inc., 2019
U.S. Dist. LEXIS 110767 (E.D. Mich. 2019).
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“offerings of circumstantial and statistical evidence[.]” (ECF No. 201,

PageID.6903 (emphasis added).)

      Hegira has failed to show that the Court made a mistake, the correction of

which would change the outcome of its prior ruling. E.D. Mich. LR 7.1(h)(2)(A).

It may well be that Plaintiffs’ evidence proves inadequate to convince the finder of

fact at trial on a fully developed and cross-examined record. Nonetheless, a

motion for reconsideration is not an opportunity to point out all of the things that

the party wishes it had pointed out previously or to add or give greater emphasis to

certain evidence. Instead, consistent with LR 7.1(h)(2)(A), it is only an

opportunity to show how the Court erred based on the record and briefing that was

before it in the first instance. Hegira has not done so. In contrast, and as the Court

pointed out in its July 26, 2022 order, Plaintiffs have adequately demonstrated that

they are entitled to a trial to fully flesh out the disputed and material facts that they

have identified, not only as to their procedural and substantive due process claims

but also as to their ADA and Rehabilitation Act claims. (ECF No. 201,

PageID.6917-6918.) “[A]t the summary judgment stage the judge's function is not

himself to weigh the evidence and determine the truth of the matter but to

determine whether there is a genuine issue for trial.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249 (1986). Whether Hegira ultimately wins is another story

for another day. See, e.g., Sonner v. Schwabe N. Am., Inc., 911 F.3d 989, 992 (9th

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Cir. 2018) (“a plaintiff need only show a triable issue of material fact to proceed

to trial . . . not foreclose any possibility of the defendant's success on the claims.”)

(internal citations omitted); Klocke v. Watson, 936 F.3d 240, 246 (5th Cir.

2019), as revised (Aug. 29, 2019) (“The party resisting summary judgment

succeeds simply by showing that a material fact issue exists and requires trial by a

factfinder.”). Accordingly, Hegira’s motion for reconsideration (ECF No. 203) is

DENIED.

Dated: October 20, 2022                         ________________
                                                Anthony P. Patti
                                                United States Magistrate Judge




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